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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 VS.                                              §    CASE NO. 1:09-CR-109(14)
                                                  §
 JAMES ALEXANDER SMITH                            §

                            MEMORANDUM ORDER
               ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                         ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

 Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

 Before the United States Magistrate Judge [Clerk’s doc. #553]. The Magistrate Judge recommended

 that the Court accept Defendant’s guilty plea and conditionally accept the plea agreement. He further

 recommended that the Court finally adjudge Defendant as guilty on Count I of the Indictment filed

 against Defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Findings of Fact and Recommendation on Guilty Plea should be accepted. It is, therefore,


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 ORDERED that the Findings of Fact and Recommendation on Guilty Plea [Clerk’s doc. #553] of

 the United States Magistrate Judge are ADOPTED. The plea agreement is conditionally accepted

 by the Court at this time. It is further ORDERED that, in accordance with Defendant’s guilty plea

 and the magistrate judge’s findings and recommendation, Defendant, James Alexander Smith, is

 hereby adjudged as guilty on Count I of the charging Indictment charging violations of Title 21,

 United States Code, Section 846.


        SIGNED this the 12 day of January, 2010.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge




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